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                         IN THE LINITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   AMARILLO DIVISION

STATE OF TEXAS et al.,

           Plaintiflb,

V                                                         2:24-CV-86-Z

LINITED STATES OF AMEzuCA CI AI

           Defendants.

                                           ORDER

        Before the Court is Citizens Defending Freedom's ("Citizens") Motion for Leave to File

Amicus Curiae Brief (ECF No. 42) and Motion for Leave to Appear Without Local Counsel

(ECF No. 43) (collectively, "Motions"), filed June 26, 2024. "[A]ll parties consent to Citizens

Defending Freedom's motion for leave to file a brief as amicus curiae." ECF No. 42 at l.

        The Motions are GRANTED. Citizens may appear without local counsel for the sole

purpose of filing the foregoing amicus brief. The Clerk is therefore DIRECTED to file that

brief, cunently docketed at ECF No. 42-1, as a separately filed amicus brief.

        SO ORDERED.

        June ?X,2024




                                                        TTHEW J. KACSMARYK
                                                            STATES DISTRICT JUDGE
